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 6                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON
 7                                         AT SEATTLE

 8    SETH KORLEY MARTEY,                                   No. C19-01262 RSL
 9
                            Plaintiff,                      JOINT STIPULATION AND
10                                                          ORDER HOLDING
                      v.                                    CASE IN ABEYANCE
11
      MICHAEL RICHARD POMPEO, et al.,
12
                               Defendants.
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14
            Plaintiff brings this litigation pursuant to the Administrative Procedure Act seeking, inter
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     alia, to compel Defendants to adjudicate the immigration visa application of Plaintiff’s daughter.
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     Dkt. No. 1. Defendants have yet to answer the Complaint.
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18          The Parties submit that there is good cause to hold this case in abeyance until January 15,

19   2021. The parties are discussing the possible resolution of this matter after Plaintiff completes

20   an interview before a consular officer at the Consulate, which is currently scheduled for January
21
     4, 2021. Because this may lead to complete resolution of this litigation without the need for
22
     further judicial intervention, the Parties agree that this case should be held in abeyance until the
23
     interview is completed.
24
            Accordingly, the parties hereby STIPULATE AND AGREE, AND JOINTLY REQUEST
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26   that the Court hold this case in abeyance, and order the parties to file a joint status report on or

27   before January 15, 2021.

     JOINT STIPLUATION AND ORDER                                              UNITED STATES ATTORNEY
     (C19-01262 RSL) - 1                                                       1201 PACIFIC AVE., STE. 700
                                                                                  TACOMA, WA 98402
                                                                                     (253) 428-3800
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     Dated: October 1, 2020
 1
 2   Respectfully submitted,
                                                          BRIAN T. MORAN
 3                                                        United States Attorney

 4   s/ Bart Klein                                        /s/ Michelle R. Lambert
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 9
10   Attorney for Plaintiff                               Attorney for Defendants

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                                                  ORDER
16           The parties having so stipulated, the above is SO ORDERED. The Parties shall file a
17   joint status report on or before January 15, 2021.
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19          Dated this 2nd day of October, 2020.

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21                                                 Robert S. Lasnik
                                                   United States District Judge
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     JOINT STIPLUATION AND ORDER                                         UNITED STATES ATTORNEY
     (C19-01262 RSL) - 2                                                  1201 PACIFIC AVE., STE. 700
                                                                             TACOMA, WA 98402
                                                                                (253) 428-3800
